EDTN Amended Judgment in a Criminal Case for Revocation (Rev. 8/01)                                            (NOTE: Identify Changes with Asterisks (*))
     Sheet 1



                                         United States District Court
                                               Eastern District of Tennessee

           UNITED STATES OF AMERICA                                          AMENDED JUDGMENT IN A CRIMINAL CASE
                      v.                                                     (For Revocation of Probation or Supervised Release)
                                                                             (For Offenses committed on or after November 1, 1987)
           MICHAEL TERRELL HARPER
                        (Defendant’s Name)                                   Criminal Number: 2:02-CR-072-3

Date of Revocation Judgment: January 9, 2014
(or Date of Last Amended Judgment)
                                                                             Nikki C. Pierce
                                                                             Defendant’s Attorney

Reason for Amendment:
Correction of Sentence for Clerical Mistake (Fed.R.Crim.P.36)


THE DEFENDANT:
[T]      admitted guilt to Violation Numbers 1,2,3 of the term of supervision.
[T]      was found in Violation Condition 4 after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation;

                                                                                                    Date Violation
Violation Number                       Nature of Violation                                          Occurred

See next page.


        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]       The defendant has not violated condition(s)           and is discharged as to such violation(s) condition.


          IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                                                           March 10, 2014
                                                                           Date of Imposition of Sentence

                                                                                                            s/ Leon Jordan
                                                                           Signature of Judicial Officer

                                                                                        LEON JORDAN, United States District Judge
                                                                           Name & Title of Judicial Officer

                                                                                                            March 10, 2014
                                                                           Date




          Case 2:02-cr-00072-RLJ                   Document 449 Filed 03/10/14                             Page 1 of 5         PageID #:
                                                               661
EDTN Judgment in a Criminal Case for Revocation (Rev. 8/01)
     Sheet I
                                                                                                                 Judgment - Page 2 of 5
CASE NUMBER:             2:02-CR-072-3
DEFENDANT:               MICHAEL TERRELL HARPER

                                                  ADDITIONAL VIOLATIONS

Violation Number        Nature of Violation                                                       Date Violation Occurred

1                       Standard Condition #1: The defendant left the judicial district without   prior to May 22, 2013
                        permission of the court or the probation officer.

2                       Standard Condition #6: The defendant failed to notify the probation       prior to May 22, 2013
                        officer 10 days prior to any change in residence and employment.

3                       Special Condition: The defendant failed to report to drug screen as       July 9, 2013
                        directed by the probation officer.                                        August 22, 2013
                                                                                                  September 4, 2013


4                       General Condition: The defendant failed to pay a $100 special assessment November 21, 2013
                        fee.




          Case 2:02-cr-00072-RLJ                    Document 449 Filed 03/10/14               Page 2 of 5     PageID #:
                                                                662
EDTN Judgment in a Criminal Case (Rev. 3/04)
     Sheet 2 — Imprisonment
                                                                                                                   Judgment - Page 3 of 5
DEFENDANT:              MICHAEL TERRELL HARPER
CASE NUMBER:            2:02-CR-072-3


                                                             IMPRISONMENT
     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
2 months .



[]     The court makes the following recommendations to the Bureau of Prisons:



[T]    The defendant is remanded to the custody of the United States Marshal.


[]     The defendant shall surrender to the United States Marshal for this district:
       [ ] at      [] a.m. [] p.m. on       .
       [ ] as notified by the United States Marshal.


[]     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       [ ] before 2 p.m. on     .
       [ ] as notified by the United States Marshal.
       [ ] as notified by the Probation or Pretrial Services Office.




                                                                       RETURN
I have executed this judgment as follows:




       Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                                     UNITED STATES MARSHAL



                                                                                              By
                                                                                                   DEPUTY UNITED STATES MARSHAL




          Case 2:02-cr-00072-RLJ                     Document 449 Filed 03/10/14               Page 3 of 5        PageID #:
                                                                 663
EDTN Judgment in a Criminal Case (Rev. 1/12)
     Sheet 3 — Supervised Release
                                                                                                                                   Judgment - Page 4 of 5
DEFENDANT:               MICHAEL TERRELL HARPER
CASE NUMBER:             2:02-CR-072-3

                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 4 years .



The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by
the court.

[]     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance
       abuse. (Check, if applicable.)

[*T ] The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[*T ] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
       directed by the probation officer. (Check, if applicable.)

[]     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any such fine or
restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set forth in the
Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall also comply
with the additional conditions on the attached page.


                                      STANDARD CONDITIONS OF SUPERVISION

 1)    The defendant shall not leave the judicial district or other specified geographic area without the permission of the Court or probation officer;
 2)    The defendant shall report to the probation officer in a manner and frequency directed by the Court or probation office;
 3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)    The defendant shall support his/her dependents and meet other family responsibilities;
 5)    The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
       reasons;
 6)    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any narcotic or other
       controlled substance, or any paraphernalia related to such substances, except as prescribed by a physician;
 8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered, or other places
       specified by the Court;
 9)    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony
       unless granted permission to do so by the probation officer;;
10)    The defendant shall permit a probation officer to visit at any time at home or elsewhere and shall permit confiscation of any contraband
       observed in plain view by the probation officer;
11)    The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer;
12)    The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
       of the Court;
13)    As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by his/her criminal record or
       personal history of characteristics and shall permit the probation officer to make such notification and to confirm the defendant’s compliance
       with such notification requirement.


          Case 2:02-cr-00072-RLJ                    Document 449 Filed 03/10/14                          Page 4 of 5            PageID #:
                                                                664
EDTN Judgment in a Criminal Case (Rev.3/04)
    Sheet 3A - Supervised Release
                                                                                                                Judgment - Page 5 of 5
DEFENDANT:               MICHAEL TERRELL HARPER
CASE NUMBER:             2:02-CR-072-3


                                    SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall participate in a program of testing and/or treatment for drug and/or alcohol abuse, as directed by the probation
   officer, until such time as he is released from the program by the probation officer.




          Case 2:02-cr-00072-RLJ              Document 449 Filed 03/10/14                     Page 5 of 5        PageID #:
                                                          665
